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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
 COMMITTEE ON WAYS AND                   )
 MEANS, UNITED STATES HOUSE              )
 OF REPRESENTATIVES,                     )
                                        )
            Plaintiff,                  )
                                        )
                       v.                )
                                        ) No. 1:19-cv-1974 (TNM)
 UNITED STATES DEPARTMENT                )
 OF THE TREASURY, et al.                )
                                        )
           Defendants,                   )
                                        )
 DONALD J. TRUMP, et al.,               )
                                        )
           Defendant-Intervenors.       )
                                        )

                   DEFENDANTS’ AND DEFENDANT-INTERVENORS’
                      NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants and Defendant-Intervenors respectfully notify the Court of the opinion issued

yesterday by the U.S. Court of Appeals for the D.C. Circuit in Committee on the Judiciary v.

McGahn, No. 19-5331 (D.C. Cir.), concluding that a committee of the House of Representatives

lacks a cause of action to enforce its subpoenas against the Executive Branch. A copy of the D.C.

Circuit opinion is attached.

Dated: September 1, 2020                    Respectfully submitted,

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        United States Court of Appeals
                FOR THE DISTRICT OF COLUMBIA CIRCUIT



                        Decided August 31, 2020

                              No. 19-5331

       COMMITTEE ON THE JUDICIARY OF THE UNITED STATES HOUSE
                       OF REPRESENTATIVES,
                             APPELLEE

                                    v.

                        DONALD F. MCGAHN, II,
                            APPELLANT


               Appeal from the United States District Court
                       for the District of Columbia
                           (No. 1:19-cv-02379)


           Hashim M. Mooppan, Deputy Assistant Attorney General,
       U.S. Department of Justice, and Mark R. Freeman, Michael S.
       Raab, and Martin Totaro, Attorneys, were on the briefs for
       appellant.

           Douglas N. Letter, General Counsel, U.S. House of
       Representatives, Todd B. Tatelman, Deputy General Counsel,
       Megan Barbero and Josephine Morse, Associate General
       Counsel, Adam A. Grogg and William E. Havemann, Assistant
       General Counsel, Jonathan B. Schwartz, Attorney, and Annie
       L. Owens were on the brief for appellee.
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           Steven A. Hirsch, Justin Florence, Jamila G. Benkato, and
       Cameron O. Kistler were on the brief for amici curiae
       Republican Legal Experts, et al. in support of plaintiff-
       appellee.

           Before: HENDERSON, ROGERS, and GRIFFITH, Circuit
       Judges.

           Opinion for the Court filed by Circuit Judge GRIFFITH.

           Dissenting opinion filed by Circuit Judge ROGERS.

            GRIFFITH, Circuit Judge: In Committee on the Judiciary v.
       McGahn, 2020 WL 4556761 (Aug. 7, 2020), the en banc court
       held that the Committee on the Judiciary of the House of
       Representatives has Article III standing to seek judicial
       enforcement of a subpoena issued to former White House
       Counsel Donald F. McGahn, II. Id. at *15. It remanded the case
       to this three-judge panel to consider the remaining issues,
       including whether the Committee has a cause of action to
       enforce its subpoena and, if so, whether McGahn must testify
       despite the Executive Branch’s assertion of absolute
       testimonial immunity. Id. We have no occasion to address the
       immunity argument because we conclude that the Committee
       lacks a cause of action. Accordingly, the case must be
       dismissed.

                                       I

            The en banc court held that the Committee has Article III
       standing, but the Committee “also need[s] a cause of action to
       prosecute” its case in federal court. Make the Road N.Y. v. Wolf,
       962 F.3d 612, 631 (D.C. Cir. 2020). Here, the Committee
       argues that it has an implied cause of action under Article I,
       that it can invoke the traditional power of courts of equity to
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       enjoin unlawful executive action, and that the Declaratory
       Judgment Act provides a separate basis for this suit. We
       disagree.

                                       A

            Start with Article I. The Committee argues that it is
       “entitled under Article I to seek equitable relief to enforce a
       subpoena . . . issued in furtherance of its constitutional power
       of inquiry.” Committee Panel Br. 34 (internal quotation marks
       omitted). But time and again, the Supreme Court has warned
       federal courts to hesitate before finding implied causes of
       action—whether in a congressional statute or in the
       Constitution. See, e.g., Comcast Corp. v. Nat’l Ass’n of African
       Am.-Owned Media, 140 S. Ct. 1009, 1015 (2020); Hernandez
       v. Mesa, 140 S. Ct. 735, 741-43 (2020); Jesner v. Arab Bank,
       PLC, 138 S. Ct. 1386, 1402 (2018); Ziglar v. Abbasi, 137 S. Ct.
       1843, 1857 (2017); Alexander v. Sandoval, 532 U.S. 275, 286-
       87 (2001). “When a party seeks to assert an implied cause of
       action under the Constitution itself, . . . separation-of-powers
       principles are or should be central to the analysis,” and usually
       Congress “should decide” whether to authorize a lawsuit.
       Ziglar, 137 S. Ct. at 1857 (internal quotation marks omitted).

            In this case, Congress has declined to authorize lawsuits
       like the Committee’s twice over. First, Congress has granted an
       express cause of action to the Senate—but not to the House.
       See 2 U.S.C. § 288d; 28 U.S.C. § 1365(b). Second, the Senate
       statute expressly excludes suits that involve executive-branch
       assertions of “governmental privilege.” 28 U.S.C. § 1365(a).
       The expression of one thing implies the exclusion of the other,
       and authorizing the Committee to bring its lawsuit would
       conflict with two separate statutory limitations on civil suits to
       enforce congressional subpoenas. When determining whether
       to “recognize any causes of action not expressly created by
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       Congress,” “our watchword is caution,” Hernandez, 140 S. Ct.
       at 742, and we should not ignore Congress’s carefully drafted
       limitations on its authority to sue to enforce a subpoena.

            The Committee next suggests that—even if Article I alone
       doesn’t provide a cause of action—the court may exercise its
       “traditional equitable powers” to grant relief. Ziglar, 137 S. Ct.
       at 1856. But even those equitable powers remain “subject to
       express and implied statutory limitations,” Armstrong v.
       Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015), and are
       further limited to relief that was “traditionally accorded by
       courts of equity,” Grupo Mexicano de Desarrollo S.A. v. All.
       Bond Fund, Inc., 527 U.S. 308, 319 (1999). Again, “implied
       statutory limitations” foreclose suits by the House and suits that
       implicate a governmental privilege; this one checks both boxes,
       so Congress itself has precluded us from granting the requested
       relief to the Committee.

            In any event, there is also nothing “traditional” about the
       Committee’s claim. The Committee cannot point to a single
       example in which a chamber of Congress brought suit for
       injunctive relief against the Executive Branch prior to the
       1970s. True enough, the en banc court rejected McGahn’s
       argument that “federal courts have not historically entertained
       congressional subpoena enforcement lawsuits,” but the full
       court also recognized the “relative recency” of lawsuits to
       enforce subpoenas. McGahn, 2020 WL 4556761, at *14. When
       determining the scope of our equitable authority, however,
       “relatively recent” history isn’t enough. In Grupo Mexicano,
       the Supreme Court explained that we “must ask whether the
       relief” that the Committee requests “was traditionally accorded
       by courts of equity.” 527 U.S. at 319 (emphasis added). The
       relief requested here—an injunction issued against a former
       Executive Branch official in an interbranch information
       dispute—cannot possibly have been traditionally available in
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       courts of equity, because the “separate systems of law and
       equity” in our federal system ceased to exist in 1938. SCA
       Hygiene Prods. Aktiebolag v. First Quality Baby Prods., LLC,
       137 S. Ct. 954, 960 (2017). The Committee’s smattering of
       examples from the 1970s comes (at least) thirty years too late.

            Confining ourselves “within the broad boundaries of
       traditional equitable relief” constrains federal courts to their
       proper role in a democratic system. Grupo Mexicano, 527 U.S.
       at 322. We cannot simply gesture towards the “flexibility” of
       equity and offer whatever relief (in our view) seems necessary
       to redress an alleged harm; that would transform equity’s
       “flexibility” into “omnipotence.” Id. Congress may someday
       determine that the federal courts should stand ready to enforce
       legislative subpoenas against executive-branch officials, but
       authorizing that remedy ourselves would be “incompatible
       with the democratic and self-deprecating judgment” that we
       lack the “power to create remedies previously unknown to
       equity jurisprudence.” Id. at 332. “The debate concerning [the]
       formidable power” to compel executive-branch officials to
       respond to congressional subpoenas “should be conducted and
       resolved where such issues belong in our democracy: in the
       Congress.” Id. at 333.

            Finally, the Committee claims that the Declaratory
       Judgment Act allows it to bring suit. See 28 U.S.C. § 2201(a).
       This argument is even less persuasive. The Declaratory
       Judgment Act does not itself “provide a cause of action,” as the
       “availability of declaratory relief presupposes the existence of
       a judicially remediable right.” Ali v. Rumsfeld, 649 F.3d 762,
       778 (D.C. Cir. 2011) (cleaned up); see also C&E Servs., Inc. of
       Wash. v. D.C. Water & Sewer Auth., 310 F.3d 197, 201 (D.C.
       Cir. 2002). That statute is “procedural only” and simply
       “enlarge[s] the range of remedies available in the federal
       courts.” Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S. 667,
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       671 (1950) (internal quotation marks omitted). Because Article
       I does not create a “judicially remediable right” to enforce a
       congressional subpoena, the Committee cannot use the
       Declaratory Judgment Act to bootstrap its way into federal
       court. Thus, even though the Committee has the Article III
       standing necessary to “get[] [it] through the courthouse door,
       [that] does not keep [it] there.” Make the Road, 962 F.3d at 631.

                                       B

            The dissent’s contrary arguments fail. First, the dissent
       suggests that the court may infer a cause of action from the
       Committee’s Article I power to issue subpoenas. Dissent at 1-
       2. The dissent quotes McGrain v. Daugherty, which held that
       the “power of inquiry—with process to enforce it—is an
       essential and appropriate auxiliary to the legislative function.”
       273 U.S. 135, 174 (1927); see also Quinn v. United States, 349
       U.S. 155, 160-61 (1955) (similar). But the Supreme Court has
       also explained that “[a]uthority to exert the powers of the
       [House] to compel production of evidence differs widely from
       authority to invoke judicial power to that purpose.” Reed v. Cty.
       Comm’rs of Del. Cty., 277 U.S. 376, 389 (1928) (emphasis
       added). And neither of the cases that the dissent cites says that
       Article I gives the Committee power to file a civil suit to
       enforce its subpoenas. McGrain arose out of a habeas corpus
       suit filed after the Senate exercised its inherent contempt power
       to arrest the Attorney General’s brother. See McGrain, 273
       U.S. at 153-54. And although Quinn stated that Congress has
       “the authority to compel testimony” through “its own
       processes” or a “judicial trial,” that case arose out of a criminal
       conviction for contempt of Congress—a violation of a criminal
       statute. 349 U.S. at 160-61. These cases do not demonstrate that
       Article I creates a cause of action for the Committee. To the
       contrary, they show that Congress has long relied on its own
       devices—either its inherent contempt power, see, e.g.,
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       Anderson v. Dunn, 19 U.S. (6 Wheat.) 204 (1821), or the
       criminal contempt statute enacted in 1857, see McGrain, 273
       U.S. at 167.

            Our circuit has already recognized these limits on
       Congress’s power to enforce subpoenas. As we explained,
       “Prior to 1978 Congress had only two means of enforcing
       compliance with its subpoenas: [1] a statutory criminal
       contempt mechanism and [2] the inherent congressional
       contempt power.” In re U.S. Senate Permanent Subcomm. on
       Investigations, 655 F.2d 1232, 1238 (D.C. Cir. 1981)
       (emphasis added) (footnote omitted). Although Congress
       “[r]espond[ed] to this deficiency” by enacting a “mechanism
       for civil enforcement of Senate subpoenas” in 1978, that statute
       “does not . . . include civil enforcement of subpoenas by the
       House of Representatives.” Id. at 1238 & n.28 (emphasis
       added). Our precedent thus plainly presupposes that the
       Constitution alone does not provide a cause of action.

            The dissent’s reliance on the Declaratory Judgment Act
       also fails. The dissent concedes that the Act “‘presupposes the
       existence of a judicially remediable right.’” Dissent at 3
       (quoting C&E Servs., 310 F.3d at 201). The dissent locates this
       “judicially remediable right” in Article I, but as explained
       above, Congress has no implied constitutional power to seek
       civil enforcement of its subpoenas. The Committee thus cannot
       identify an underlying judicial remedy that could authorize it
       to invoke the Declaratory Judgment Act.

                                      II

            Because the Committee lacks a cause of action to enforce
       its subpoena, this lawsuit must be dismissed. We note that this
       decision does not preclude Congress (or one of its chambers)
       from ever enforcing a subpoena in federal court; it simply
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       precludes it from doing so without first enacting a statute
       authorizing such a suit. The Constitution’s Necessary and
       Proper Clause vests Congress with power to “make all Laws
       which shall be necessary and proper for carrying into
       Execution” its constitutional powers, and that Clause gives
       Congress—and certainly not the federal courts—the broad
       discretion to structure the national government through the
       legislative process. U.S. CONST. art. I, § 8, cl. 18.

            If Congress (rather than a single committee in a single
       chamber thereof) determines that its current mechanisms leave
       it unable to adequately enforce its subpoenas, it remains free to
       enact a statute that makes the House’s requests for information
       judicially enforceable. Indeed, Congress has passed similar
       statutes before, authorizing criminal enforcement in 1857 and
       civil enforcement for the Senate in 1978. See Senate Permanent
       Subcomm., 655 F.3d at 1238 & n.26. Because no “legislation
       pursues its purposes at all costs,” CTS Corp. v. Waldburger,
       573 U.S. 1, 12 (2014) (internal quotation marks omitted), any
       such statute might, for example, carve out certain categories of
       subpoenas, or create unique procedural protections for
       defendants. That’s exactly what Congress has done in the past.
       The 1857 statute, for instance, stated that “no person examined
       and testifying” before Congress “shall be held to answer
       criminally . . . for any fact or act [about] which he shall be
       required to testify.” In re Chapman, 166 U.S. 661, 665 n.1
       (1897). And the Senate’s civil enforcement statute exempts
       from suit any defendant asserting a “governmental privilege.”
       28 U.S.C. § 1365(a).

           Balancing the various policy considerations in crafting an
       enforcement statute is a legislative judgment. For that reason,
       the Constitution leaves to Congress—and not to the federal
       courts—the authority to craft rights and remedies in our
       constitutional democracy. Perhaps “new conditions” “might
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       call for a wrenching departure from past practice” and for a
       new statute allowing the House to leverage the power of federal
       courts to compel testimony or the production of documents.
       Grupo Mexicano, 527 U.S. at 322. But if any institution is well-
       positioned to “perceive” those new conditions, to assess
       Congress’s needs, to balance those needs against the
       countervailing policy considerations, and then “to design the
       appropriate remedy,” that institution is Congress. Id.

           The judgment of the district court is reversed, and the case
       is remanded for further proceedings consistent with this
       opinion.

                                                           So ordered.
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              ROGERS, Circuit Judge, dissenting: In Committee on the
        Judiciary v. McGahn, 2020 WL 4556761 (Aug. 7, 2020), the
        en banc court held that a Committee of the House of
        Representatives has Article III standing to seek judicial
        enforcement of a subpoena duly issued to former White House
        Counsel Donald F. McGahn, II. Id. at *15. It remanded to the
        panel initially assigned to hear the case the remaining issues,
        including the jurisdictional issues the court considers today. Id.
        For the following reasons, the Committee has a cause of action
        to litigate its subpoena enforcement lawsuit in federal court and
        the court has statutory subject matter jurisdiction to resolve it.
        Further, on the merits, McGahn’s contention that he is entitled
        to absolute immunity from the Committee’s subpoena lacks
        merit.

                                        I.

             McGahn contends that, notwithstanding the Committee’s
        Article III standing, see generally McGahn, 2020 WL
        4556761, there is no statutory or constitutional authorization
        for the Committee to bring the present subpoena enforcement
        lawsuit. But there is both an implied cause of action under
        Article I of the Constitution and a cause of action pursuant to
        the Declaratory Judgment Act authorizing the Committee to
        bring this lawsuit.

                                       A.

             In McGrain v. Daugherty, 273 U.S. 135 (1927), the
        Supreme Court indicated that the Constitution implies a right
        of action to enforce a subpoena. In that case, the Supreme
        Court stated that “the power of inquiry — with process to
        enforce it — is an essential and appropriate auxiliary to the
        legislative function.” Id. at 174; see McGahn, 2020 WL
        4556761, at *4–5. The Court inferred from Article I not only
        the power of a House of Congress to demand testimony and
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        information but also “process to enforce” such a demand,
        namely a subpoena enforcement lawsuit. Similarly, the
        Supreme Court stated in Quinn v. United States, 349 U.S. 155
        (1955), that a subpoena gives Congress “the authority to
        compel testimony, either through its own processes or through
        judicial trial,” id. at 160–61, indicating that the subpoena power
        encompasses the authority to enforce a subpoena in federal
        court. In sum, the Supreme Court has explained that the
        powers of Congress enumerated in Article I of the Constitution
        imply not only a right to information but also a right to seek
        judicial enforcement of its subpoena.

                                       B.

             Even if an implied cause of action under the Constitution
        were inadequate, the Declaratory Judgment Act provides a
        cause of action for Congress to enforce its subpoena. The Act
        authorizes the court to “declare the rights and other legal
        relations of any interested party seeking such declaration,
        whether or not further relief is or could be sought,” so long as
        there is “a case of actual controversy” over which a federal
        court may exercise jurisdiction. 28 U.S.C. § 2201(a). Those
        two requirements — (1) an actual case or controversy, and (2)
        federal court jurisdiction — are met here. First, the en banc
        court has held that the Committee has Article III standing. See
        generally McGahn, 2020 WL 4556761. It follows that the
        present dispute is a genuine case or controversy. Second, 28
        U.S.C. § 1331 supplies federal jurisdiction over this lawsuit, as
        explained in Part II infra. The statutory requirements for
        proceeding under the Declaratory Judgment Act are thus met.
        Under the plain text of the Act, nothing else is required. In
        particular, “the wording of the statute does not indicate that any
        independent cause of action is required to invoke” the
        Declaratory Judgment Act, Comm. on the Judiciary v. Miers,
        558 F. Supp. 2d 53, 80 (D.D.C. 2008), and the Supreme Court,
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        although emphasizing that the Act is not a source of federal
        court jurisdiction or any substantive rights, has never stated that
        it does not create a right of action.

             The various limits that the Supreme Court and this court
        have placed upon lawsuits brought under the Declaratory
        Judgment Act do not preclude the House of Representatives
        from proceeding under the Act. First, the Supreme Court has
        emphasized that the Declaratory Judgment Act does not
        provide an independent source of federal jurisdiction. In Skelly
        Oil Co. v. Phillips Petroleum Co., 339 U.S. 667, 671 (1950),
        the Court stated that the Declaratory Judgment Act “enlarged
        the range of remedies available in the federal courts but did not
        extend their jurisdiction.” Id. In that case, plaintiffs filed suit
        pursuant to the Declaratory Judgment Act seeking an
        interpretation by the federal court of a contract provision, a
        question solely of state law. Id. at 672. The Court decided that
        the mere fact that the plaintiffs had proceeded under the Act
        did not suffice to render the case’s state contract law issue a
        federal question for purposes of § 1331. See id. at 671–72. The
        proscription of Skelly Oil is no obstacle to the Committee here
        because the court has jurisdiction under 28 U.S.C. § 1331, see
        Part II infra. Thus, the Committee does not impermissibly seek
        to rely on the Act as a source of federal court jurisdiction.

             Second, the Declaratory Judgment Act “presupposes the
        existence of a judicially remediable right.” C&E Servs., Inc. v.
        D.C. Water & Sewer Auth., 310 F.3d 197, 201 (D.C. Cir. 2002)
        (quoting Schilling v. Rogers, 363 U.S. 666, 677 (1960)). In
        C&E Services, the issue was whether the appellant could obtain
        a declaratory judgment that, in structuring its bidding process,
        the D.C. Water & Sewer Authority had violated the federal
        Service Contract Act. The court held that it could not, because
        the Service Contract Act required any dispute arising under it
        to be resolved by the U.S. Secretary of Labor; the Declaratory
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        Judgment Act was not an avenue to circumvent that statutory
        requirement. See id. at 202. Citing Schilling v. Rogers, 363
        U.S. 666 (1960), the court stated that “federal courts may not
        declare a plaintiff’s rights under a federal statute that Congress
        intended to be enforced exclusively through a judicially
        unreviewable administrative hearing.” Id. at 201. That makes
        C&E Services quite different because the Committee is suing
        in the context of its constitutional duty of impeachment to
        enforce a right to compulsory process that follows from the
        Constitution, not a statute.         Furthermore, because the
        Committee does not assert a statutory right, there is no
        statutorily mandated exclusive remedial scheme for
        vindication of that right, as there was in C&E Services.

             More broadly, C&E Services and Schilling stand for the
        proposition that the Declaratory Judgment Act provides no
        substantive right that a plaintiff may seek to adjudicate in
        federal court. Rather, the Act is a vehicle for vindicating a
        separate and independent substantive right. The Constitution
        itself is the source of the right of compulsory process that the
        Committee seeks to vindicate here; the Supreme Court has long
        recognized Congress’s broad power of inquiry and the
        concomitant right to compel witnesses to appear before it. See,
        e.g., McGrain, 273 U.S. at 174; see McGahn, 2020 WL
        4556761, at *4–5. Thus, because the Committee asserts a right
        to have McGahn appear before it to testify, and because this
        court has held that a dispute over that right is susceptible of
        judicial resolution, see McGahn, 2020 WL 4556761, at *15, the
        requirement that a Declaratory Judgment Act plaintiff rely on
        an independent judicially remediable substantive right is
        satisfied.

            McGahn points out that this court has stated: “Nor does the
        Declaratory Judgment Act . . . provide a cause of action.” Ali
        v. Rumsfeld, 649 F.3d 762, 778 (D.C. Cir. 2011) (citation
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        omitted). That statement was made in the context of unique
        factual circumstances very different from the present case. In
        Ali, the appellants were Afghan and Iraqi citizens detained in
        their home countries in the course of U.S. military operations
        there. See id. at 764–65. Their lawsuit sought, among other
        things, a declaratory judgment that their treatment in detention
        violated the law of nations, treaties to which the United States
        was a party, and the Fifth and Eighth Amendments of the U.S.
        Constitution. Id. The court held that the Declaratory Judgment
        Act did not provide the plaintiffs with a cause of action, see id.
        at 778, casting doubt that the Fifth and Eighth Amendments
        protected them because they were detained overseas in a
        country over which the United States did not exercise “de facto
        sovereignty,” id. at 772 (citing Boumediene v. Bush, 553 U.S.
        723, 755 (2008)). The court stated: “[W]e have . . . held that
        the Suspension Clause does not apply to Bagram detainees.
        [Appellants] offer no reason — and we see none ourselves —
        why their Fifth and Eighth Amendment claims would be any
        stronger than the Suspension Clause claims of the Bagram
        detainees.” Id. The clear implication of that reasoning is that
        the Fifth and Eighth Amendments did not apply to the Ali
        plaintiffs, and thus that no constitutional right was at stake.

             No party disputes the existence of the constitutional power
        — namely, the power of inquiry — that the House seeks to
        vindicate. See McGrain, 273 U.S. at 174. The defect in Ali,
        then, was akin to the problem of C&E Services, namely that
        there was no substantive right that plaintiffs could assert. So
        understood, Ali does not prevent the House from proceeding
        under the Declaratory Judgment Act here to vindicate an
        established constitutional right.
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                                        6
                                        II.

             It is not enough that the Committee have Article III
        standing and a cause of action to bring the present lawsuit; the
        court must also assure itself that it has statutory subject matter
        jurisdiction to resolve the dispute. Contrary to McGahn’s
        position, the court has subject matter jurisdiction over the
        Committee’s lawsuit pursuant to 28 U.S.C. § 1331, which
        grants statutory jurisdiction over “all civil actions arising under
        the Constitution . . . of the United States.” The present lawsuit
        “aris[es] under the Constitution” and is therefore within the
        court’s jurisdiction.

             The power that the Committee seeks to exercise in the
        present lawsuit flows from the Constitution. “Because
        Congress must have access to information to perform its
        constitutional responsibilities, when Congress ‘does not itself
        possess the requisite information — which not infrequently is
        true — recourse must be had to others who do possess it.”
        McGahn, 2020 WL 4556761, at *4 (quoting McGrain, 273
        U.S. at 175). Consequently, “the Supreme Court has
        acknowledged the essentiality of information to the effective
        functioning of Congress and long ‘held that each House has
        power to secure needed information’ through the subpoena
        power.” Id. (quoting Trump v. Mazars USA, LLP, 140 S. Ct.
        2019, 2031 (2020)) (internal quotation marks omitted). “That
        constitutional power entitles each House to the testimony of a
        witness and production of requested documents in response to
        a lawful subpoena.” Id.       Because the House seeks through
        the present lawsuit to exercise its subpoena power, and because
        that power flows from Article I of the Constitution, see, e.g.,
        McGrain, 273 U.S. at 174, the Committee’s lawsuit arises
        under the Constitution. The court therefore has subject matter
        jurisdiction pursuant to § 1331.
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             This conclusion is bolstered by United States v. AT&T, 551
        F.2d 384 (D.C. Cir. 1976). In that case, the Executive Branch
        sued AT&T to enjoin its compliance with a congressional
        subpoena. The President had directed AT&T “as an agent of
        the United States, to respectfully decline to comply with the
        Committee subpoena.” Id. at 387 (citation omitted). The
        House of Representatives intervened as a defendant to
        represent its interest in AT&T’s compliance with the
        Committee subpoena. After observing that the subpoena
        dispute presented “a clash of the powers of the legislative and
        executive branches,” this court held that subject matter
        “[j]urisdiction exists under 28 U.S.C. § 1331,” as explained in
        Part II. Id. at 389. The court reasoned that because the question
        before it was whether the Executive Branch possessed the
        “constitutional powers” to “prevent transmission of [requested
        information] to Congress” pursuant to a congressional
        subpoena, “[t]he action therefore arises under the Constitution
        of the United States.” Id. AT&T thus establishes that a dispute
        over whether a party must comply with a congressional
        subpoena arises under the Constitution and therefore lies within
        § 1331’s grant of subject matter jurisdiction.

            McGahn responds that notwithstanding the plain text of
        § 1331 and this court’s precedent interpreting that provision to
        provide subject matter jurisdiction over a dispute concerning a
        congressional subpoena, 28 U.S.C. § 1365 has impliedly
        repealed federal jurisdiction granted by § 1331.           That
        argument, which the majority embraces, is unpersuasive.

             Section 1365, entitled “Senate actions,” confers on the
        U.S. District Court for the District of Columbia original
        jurisdiction “over any civil action brought by the Senate or any
        authorized committee or subcommittee . . . to enforce, to secure
        a declaratory judgment concerning the validity of, or to prevent
        a threatened refusal or failure to comply with, any subpoena or
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        order issued by the Senate or committee or subcommittee.” 28
        U.S.C. § 1365. On its face, § 1365 says nothing about
        subpoena enforcement lawsuits brought by the House of
        Representatives. Yet by explicitly granting the federal courts
        jurisdiction over a Senate subpoena enforcement action but not
        a House subpoena enforcement action, McGahn maintains that
        Congress intended that the federal courts should not have
        jurisdiction over the latter. This argument fails on two grounds.
        First, it overlooks the key context. When Congress enacted §
        1365 in 1978, § 1331 contained an amount-in-controversy
        requirement for lawsuits against private parties and officials
        acting in their individual capacities. The Senate had good
        reason to believe that this requirement would be an obstacle to
        subpoena-enforcement lawsuits because the district court in
        Senate Select Committee on Presidential Campaign Activities
        v. Nixon, 366 F. Supp. 51 (D.D.C. 1973), had originally
        dismissed the Senate’s lawsuit for failure to meet the
        requirement, see id. at 59–61. Congress addressed this problem
        in 1978 with the enactment of § 1365, which granted federal
        courts subject matter jurisdiction over Senate subpoena-
        enforcement actions without regard to the amount in
        controversy. The Senate Committee on Governmental Affairs
        explicitly disclaimed the inference that McGahn now seeks to
        draw, stating in its report on § 1365 that the provision “is not
        intended to be a Congressional finding that the Federal courts
        do not now have the authority to hear a civil action to enforce
        a subp[o]ena against an officer or employee of the Federal
        Government.” S. REP. NO. 95-170, at 91–92 (1978).

             Congress is free to address problems seriatim without
        thereby implicating questions not before it. As the Supreme
        Court has explained, “reform may take one step at a time,
        addressing itself to the phase of the problem which seems most
        acute to the legislative mind. The legislature may select one
        phase of one field and apply a remedy there, neglecting the
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        others.” Williamson v. Lee Optical, 348 U.S. 483, 489 (1955)
        (citation omitted)). With § 1365, Congress was responding to
        a particular problem: the amount in controversy requirement
        that, until it was eliminated in 1980, prevented federal courts
        from exercising jurisdiction over Congressional subpoena-
        enforcement suits under § 1331. Given the specific obstacle
        Congress overcame in enacting § 1365, there is no basis to
        conclude the statute bears on federal jurisdiction over House
        subpoena-enforcement actions. The inference that § 1365 has
        repealed such jurisdiction is therefore unwarranted.

             Second, the Supreme Court has cautioned against the
        implied repeal argument that McGahn advances. Because
        “[r]edundancies across statutes are not unusual events in
        drafting, . . . so long as there is no ‘positive repugnancy’
        between two laws, a court must give effect to both.” Conn.
        Nat’l Bank v. Germain, 503 U.S. 249, 253 (1992) (quoting
        Wood v. United States, 41 U.S. (16 Pet.) 342, 363 (1842)).
        Consequently, “jurisdiction conferred by 28 U.S.C. § 1331
        should hold firm against ‘mere implication flowing from
        subsequent litigation.’” Mims v. Arrow Fin. Servs., LLC, 565
        U.S. 368, 383 (2012) (quoting Colo. River Water Conservation
        Dist. v. United States, 424 U.S. 800, 808 (1976)). That
        admonition counsels against McGahn’s and the majority’s
        theory of the effect that § 1365 has on the court’s jurisdiction
        over the present lawsuit.

             To the extent that legislative history may shed light on the
        meaning of § 1365 as McGahn urges, reliance on two Senators’
        statements during Floor debate on the bill is misplaced. Two
        Senators stated that § 1365 indicates there is no federal
        jurisdiction over a Congressional subpoena-enforcement suit
        unless specifically authorized and reflects a Congressional
        judgment courts should refrain from exercising jurisdiction
        over such disputes. Given the jealousy with which each House
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        of Congress guards its constitutional prerogatives, these
        statements are hardly a clear instruction concerning the effect
        of § 1365 on the institutional powers of the House of
        Representatives. It would therefore be inappropriate, in the
        absence of a clear statutory directive, to conclude that § 1365
        also restricted the power of the House to file a federal
        subpoena-enforcement lawsuit.

                                     III.

             On the merits, McGahn’s contention that he is absolutely
        immune from the Committee’s subpoena must fail. His claim
        of absolute immunity amounts to the position that the President
        has the exclusive prerogative to determine what information, if
        any, will be disclosed in response to a subpoena. Precedent
        forecloses that position.

            In United States v. Nixon, 418 U.S. 683 (1974), the
        Supreme Court rejected this capacious view of Presidential
        power over Executive Branch information. Stating that
        “neither the doctrine of separation of powers, nor the need for
        confidentiality of high-level communications, without more,
        can sustain an absolute, unqualified Presidential privilege of
        immunity from judicial process under all circumstances,” the
        Court instead held that the President possesses a qualified
        executive privilege whereby Presidential communications are
        presumptively privileged but whose disclosure may be
        compelled in the case of demonstrated specific need in a
        criminal proceeding. Id. at 706–07. As the en banc court
        recently recognized, this “potentially available privilege is a
        powerful protection of the President’s interest in Executive
        Branch confidentiality” in the present case. McGahn, 2020
        WL 4556761, at *11.
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             The Supreme Court elaborated on the President’s qualified
        power to screen Executive Branch materials from disclosure in
        Nixon v. Administrator of General Services, 433 U.S. 425
        (1977), concerning not a judicial subpoena in a criminal matter
        but rather a statute regulating the preservation of President
        Nixon’s Presidential papers. The Court reiterated that although
        the context was different, the executive privilege was “a
        qualified one” and that “there has never been an expectation
        that the confidences of the Executive Office are absolute and
        unyielding.” Id. at 446, 450. The privilege is similarly
        qualified when asserted in civil litigation. See Dellums v.
        Powell, 561 F.2d 242, 245–46 (D.C. Cir. 1977).

             This court has rejected the claim of absolute presidential
        privilege in the factual circumstances of the present case,
        namely in response to a congressional subpoena. In Senate
        Select Committee on Presidential Campaign Activities v.
        Nixon, 498 F.2d 725 (D.C. Cir. 1974), the court considered a
        subpoena enforcement lawsuit brought by a Senate Committee.
        Rather than indulge the President’s claim of absolute privilege
        in response to the subpoena, the court stated that the proper
        analysis was to determine whether the Committee’s
        demonstrated “public need” was sufficient to overcome the
        President’s general interest in confidentiality; if so, in camera
        review of the requested materials by the district court would
        follow in order to assess the Executive Branch’s particularized
        claims of privilege. Id. at 729–31. The court explained that
        “[s]o long as the presumption that the public interest favors
        confidentiality can be defeated only by a strong showing of
        need by another institution of government . . . the effective
        functioning of the presidential office will not be impaired.” Id.
        at 730.

           This precedent demonstrates that although the President’s
        communications with close advisors, including the White
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        House Counsel, are presumptively privileged, the President
        does not have absolute, unreviewable discretion to determine
        what information will be disclosed in response to a subpoena
        — whether a judicial subpoena in a criminal proceeding or a
        valid congressional subpoena. Yet that is exactly the nature of
        McGahn’s absolute immunity claim. By asserting that he need
        not even appear in response to the Committee’s duly issued
        subpoena, he in essence contends that the President may
        unilaterally determine that no information will be disclosed in
        response to the subpoena. He thereby seeks to revive a view of
        Presidential power expressly rejected by the Supreme Court.

             Accordingly, the judgment of the district court should be
        affirmed, see Comm. on the Judiciary, U.S. House of
        Representatives v. McGahn, 415 F. Supp. 3d 148 (D.D.C.
        2019), and I respectfully dissent.
